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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               MACON DIVISION


CAMERON SANFORD,

        Plaintiff,

v.                                                     CIVIL ACTION NO.
                                                        5:21-cv-00362-TES
STEVEN HOOD and HERMES
RODRIGUEZ-ALVARODO,

        Defendants.


                               ORDER TO SHOW CAUSE



        On May 4, 2022, Jessica Burton, counsel for Plaintiff Cameron Sanford, filed a

 Suggestion of Death [Doc. 6] noting Mr. Cranford’s death. However, in researching this

 issue, the Court notes that other courts have disallowed suggestions of death under

 similar circumstances. Accordingly, the Court will allow Ms. Burton and Defendants an

 opportunity to SHOW CAUSE within 14 days why Ms. Burton’s Suggestion of Death is

 effective under Federal Rule of Civil Procedure 25(a). See Schmidt v. Merrill Lynch Tr.

 Co., No. 5:07-cv-382-Oc-10GRJ, 2008 WL 2694891, at *2–3 (M.D. Fla. 2008).

        SO ORDERED, this 2nd day of September, 2022.

                                           S/ Tilman E. Self, III
                                           TILMAN E. SELF, III, JUDGE
                                           UNITED STATES DISTRICT COURT
